

CrowdPay.Us, Inc. v Stream Net, Inc. (2023 NY Slip Op 05681)





CrowdPay.Us, Inc. v Stream Net, Inc.


2023 NY Slip Op 05681


Decided on November 14, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 14, 2023

Before: Manzanet-Daniels, J.P., Oing, Scarpulla, Rodriguez, Higgitt, JJ. 


Index No. 653745/18 Appeal No. 1020 Case No. 2022-04755 

[*1]CrowdPay.Us, Inc., Plaintiff-Respondent,
vStream Net, Inc., Defendant-Appellant.


Fourton &amp; Associates, PLLC, New York (Leslie E. Fourton of counsel), for appellant.
James Klatsky, Merrick, for respondent.



Appeal from order, Supreme Court, New York County (Arlene P. Bluth, J.), entered September 23, 2022, which granted plaintiff's motion pursuant to CPLR article 75 to vacate a June 5, 2022 arbitration award and ordered the Clerk to enter judgment in favor of plaintiff and against defendant in the amount of $218,026.00, unanimously dismissed, without costs, as taken from a nonappealable order.
After an arbitration proceeding in which the arbitrator dismissed all claims against defendant, plaintiff moved to vacate the award; in response, defendant's attorney submitted only an unsworn letter. Supreme Court granted plaintiff's motion on default.
As a result, no appeal lies from the order (CPLR 5511; see Figiel v Met Food, 48 AD3d 330, 330 [1st Dept 2008]).	 THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 14, 2023








